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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 0:24-cv-61939-LEIBOWITZ

  PHILIP SERPE,
       Plaintiff,

  v.

  FEDERAL TRADE COMMISSION, et al.,
        Defendants.
  ____________________________________/

          ORDER DENYING APPLICATION FOR PRELIMINARY INJUNCTION

          Before the Court is Plaintiff’s Motion for a Preliminary Injunction [ECF No. 10] (the

  “Motion”). The Motion is fully briefed and ripe for resolution. [See ECF Nos. 26, 27, 29]. In this

  lawsuit, Plaintiff challenges the constitutionality of the Horseracing Integrity and Safety Act of 2020

  (“HISA” or “the Act”) as amended, 15 U.S.C. §§ 3051–60, and its implementing regulations. [Compl.,

  ECF No. 1]. Plaintiff alleges that HISA and its Rules violate both the private nondelegation doctrine

  [ECF No. 10-1 at 14–18] and the Seventh Amendment’s guarantee of the right to trial by jury [id. at

  18–25]. Plaintiff thus asks the Court to enjoin Defendants from enforcing HISA against him. Upon

  due consideration of the Motion, the parties’ papers, relevant portions of the record, and the governing

  law, the Motion is DENIED for the reasons given below.

                              I.      PROCEDURAL BACKGROUND

          Plaintiff Philip Serpe’s challenge to HISA’s constitutionality is not the only one making its way

  through the federal courts. Plaintiffs residing in horseracing country have lodged challenges to both

  HISA’s delegation of rulemaking authority to private-entity Defendant Horseracing Integrity and

  Safety Authority (the “Authority”), as well as to HISA’s enforcement scheme. See, e.g., Louisiana v.

  Horseracing Integrity & Safety Auth. Inc., 617 F. Supp. 3d 478, 486 (W.D. La. 2022); Nat’l Horsemen’s

  Benevolvent & Protective Ass’n v. Black, No. 5:21-CV-071-H, 2023 WL 2753978 (N.D. Tex. Mar. 31,

  2023); Offolter v. Horseracing Integrity & Safety Auth., No. CIV-24-749-D, 2024 WL 3732056 (W.D. Okla.
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  Aug. 8, 2024). Plaintiffs’ private nondelegation challenge is presently pending before the United States

  Supreme Court. See Horseracing Integrity & Safety Auth., Inc. v. Nat’l Horsemen’s Benevolent & Protective

  Ass’n, 145 S. Ct. 8 (2024) (granting stay of Nat’l Horsemen’s Benevolent & Protective Ass’n v. Black, 107

  F.4th 415 (5th Cir. 2024) (holding the Authority’s enforcement powers under HISA violated the

  private nondelegation doctrine)); see also Walmsley v. Fed. Trade Comm’n, 117 F.4th 1032 (8th Cir. 2024)

  (holding plaintiffs failed to establish a fair chance of success on merits of claim that HISA’s

  enforcement provisions were unconstitutional on their face); Oklahoma v. United States, 62 F.4th 221

  (6th Cir. 2023) (holding plaintiffs’ facial constitutional challenge to HISA failed). Plaintiffs’ Seventh

  Amendment challenge to HISA has been asserted (albeit tangentially) at the district court level, but

  no district court or court of appeals has squarely addressed the Seventh Amendment challenge to date.

          Because the United States Supreme Court has yet to decide the private nondelegation question,

  this Court stayed that issue in the instant case and directed the parties to brief only Plaintiff’s Seventh

  Amendment challenge.        [See ECF No. 25].       The Court held a hearing on Plaintiff’s Seventh

  Amendment challenge on April 10, 2025. [See PAPERLESS MINUTE ENTRY, ECF No. 39]. After

  argument, the Court directed the parties to supplement the record in various respects. [See ECF No.

  40]. The parties have now done so. [ECF Nos. 45, 46, 48].

          As explained more fully herein, the Court denies Plaintiff’s application for preliminary

  injunctive relief for two reasons. As for a preliminary injunction against the Authority, Plaintiff fails to

  show irreparable harm. Plaintiff may sue the Authority to recover damages for any injuries caused by

  the alleged unconstitutional arbitration Plaintiff seeks to enjoin. As for a preliminary injunction against

  the Federal Trade Commission (“FTC”), Plaintiff’s Seventh Amendment challenge is not yet ripe; the FTC

  does not become involved or take any action until after arbitration is completed. Plaintiff’s arbitration

  is scheduled for June 2025. So, until the FTC’s administrative law judge is called upon to review the

  Authority’s sanction decision, if any, Plaintiff’s claim as to the FTC is not ripe. While the merits of


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  Mr. Serpe’s Seventh Amendment claim may ultimately win the race, this Court will not grant

  extraordinary relief before the starter’s gate has even opened.

                                   II.      FACTUAL BACKGROUND

          The parties agree that no factual dispute exists among them. [Hearing Tr. (rough) Apr. 10,

  2025, at 5:4–8; 23:20–22; 47:13–14]. The facts relevant to the instant Motion are, therefore, as follows:

  Plaintiff Philip Serpe (“Serpe”) is a Southeast Florida horse trainer who trained a thoroughbred

  racehorse named Fast Kimmie. [Compl., ECF No. 1 ¶ 64]. Defendants FTC and the Authority are

  authorized by the HISA to develop and enforce uniform national drug and safety standards for

  horseracing. [Id. ¶¶ 5, 6, 10]. On August 10, 2024, Fast Kimmie finished first in a horserace held at

  the Saratoga Racetrack. [Id. ¶ 65]. As a result of the win, samples of Fast Kimmie’s blood and urine

  were collected for testing as required by the HISA. [Id. ¶ 66]. Two separate samples of Fast Kimmie’s

  blood and urine—A Sample and B Sample—were taken.                 [Id.].   On September 4, 2024, the

  Horseracing Integrity and Welfare Unit (“HIWU”) notified Serpe that Fast Kimmie’s A Sample urine

  tested positive for the banned substance, Clenbuterol. [Id. ¶ 68]. Serpe responded to the HIWU in

  writing that he was “innocen[t],” requesting that Fast Kimmie’s B Sample be tested and analyzed. [Id.

  ¶ 71]. The HIWU reported that, although Clenbuterol had not been detected in Fast Kimmie’s A

  Sample blood, Clenbuterol was also detected in Fast Kimmie’s B Sample urine. [Id. ¶¶ 73, 76]. Serpe

  had also requested that hair testing and DNA analysis be performed, but HIWU denied the request.

  [Id. ¶¶ 72, 73].

          On October 10, 2024, HIWU issued a Charge Letter [ECF No. 1-1], advising Serpe that he

  had until October 17, 2024, to either (1) admit the doping violation and accept, dispute, or seek to

  mitigate HIWU’s proposed consequences; or (2) deny the doping violation and dispute HIWU’s

  proposed consequences at a hearing to be conducted in accordance with Anti-Doping and Medical

  Control (“ADMC”) Program Rule 3261 and Arbitration Procedures. [Compl., ECF No. 1 ¶¶ 76, 78].


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  HIWU’s proposed consequences for Serpe’s alleged HISA violation included the following: (1)

  disqualification of Fast Kimmie’s race result, including forfeiture of all purses and compensation; (2)

  Fast Kimmie’s 14-month period of ineligibility; (3) Serpe’s two years of ineligibility, with credit for

  time served under the imposition of the Provisional Suspension; (4) a fine of $25,000 or 25% of the

  total race purse (whichever is greater); (5) payment of some or all of HIWU’s adjudication and legal

  costs; (6) public disclosure; and (7) all other consequences which may be required by HISA Rules. [Id.

  ¶ 79; ECF No. 1-1 at 2–3].

          Serpe’s Provisional Suspension became effective on October 10, 2024. [ECF No. 1-1 at 3].

  The provisional suspension barred Serpe’s “Covered Horses” 1 from participating in any timed and

  reported workout or any “Covered Horseraces.” [Id.]. In addition, Serpe was prohibited from (1)

  displaying personal signage at the racetrack; (2) claiming or bringing any Covered Horses into his barn;

  and (3) being “employed in any capacity involving Covered Horses.” [Id.]. And, as a trainer, Serpe’s

  Covered Horses were not allowed to participate in any timed and reported workout or Covered

  Horseraces until the horses were transferred to “another Responsible Person.” [Id.]. And, finally,

  Serpe’s access to the HISA Portal was restricted. [Id.].

          On November 4, 2024, the Authority announced that it had lifted all provisional suspensions

  (which included Serpe’s). [ECF No. 26 at 13 (citing Horseracing Integrity & Safety Authority, HISA

  Announcement Regarding Provisional Suspensions (Nov. 4, 2024), at https://hisaus.org/news/his-

  announcement-regarding-provisional-suspensions (webpage no longer exists))].



  1
          The HISA defines “Covered Horse” as “any Thoroughbred, Standardbred, or Quarter Horse”
  during the period starting with “the date of the horse’s first timed and reported workout at a racetrack
  that participates in covered horseraces or at a training facility,” and “ending on the earlier of (i) the
  date on which the horse is permanently ineligible to be entered in a covered horserace; or (ii) the date
  of the death of the horse.” HISA, Section 2, Definitions, subsection (4). “Covered Horserace” is
  defined as “any horserace involving covered horses that has a substantial relation to interstate
  commerce, including any horserace that is the subject of off-track wagers or advance deposit wagers.”
  HISA, Section 2, Definitions, subsection (5).
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          A.      Review under the HISA

          The HISA provides a three-tiered review process for any civil sanction imposed by the

  arbitrator. See 15 U.S.C. § 3058. First, if the Authority imposes a final civil sanction after arbitration,

  the aggrieved party has thirty (30) days to appeal the sanction to an administrative law judge (“ALJ”),

  who must review the sanction de novo. 15 U.S.C. § 3058(b)(1). The ALJ is charged with determining

  (1) whether the person has engaged in acts or omissions in violation of HISA as determined by the

  Authority; (2) whether such acts or omissions violated the HISA or the ADMC racetrack safety rules;

  or (3) whether the sanction imposed by the Authority was “arbitrary, capricious, an abuse of discretion,

  or otherwise not in accordance with law.” 15 U.S.C. § 3058(b)(2)(A).

          Second, an aggrieved party “may petition” the FTC Commission for review of the ALJ’s “final

  decision” within thirty (30) days of decision. 15 U.S.C. § 3058(c)(2)(A). Whether to grant an

  application for review by the Commission is discretionary with the Commission. 15 U.S.C. §

  3058(c)(2)(C)(i). If the Commission grants the application for review, “the Commission shall consider

  whether the application makes a reasonable showing that—(I) a prejudicial error was committed in

  the conduct of the proceedings; or (II) the decision involved—(aa) an erroneous application of the

  anti-doping and medication control or racetrack safety rules approved by the Commission; or (bb) an

  exercise of discretion or a decision of law or policy that warrants review by the Commission.” 15

  U.S.C. § 3058(c)(2)(C)(ii). The Commission conducts a de novo review of the ALJ’s factual findings

  and conclusions of law. 15 U.S.C. § 3058(c)(3)(B). 2

          Third, although not expressly stated in the Act, an aggrieved party may challenge an

  unfavorable final decision by the ALJ or the Commission to the district court. See 28 U.S.C. § 1331;




  2
         “Review by the [ALJ] or the Commission shall not operate as a stay of a final civil sanction of
  the Authority unless the [ALJ] or Commission orders such a stay.” 15 U.S.C. § 3058(d).


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  5 U.S.C. § 706; see e.g., Louisiana v. Horseracing Integrity & Safety Auth. Inc. et al., 617 F. Supp. 3d 478

  (W.D. La. 2022) (enjoining HISA Rules enforcement for deficient notice-and-comment procedures). 3

          B.      Plaintiff’s Seventh Amendment challenge

          Serpe contends that Defendants’ ability to impose a civil monetary penalty against him in the

  absence of a jury violates his Seventh Amendment rights. [ECF No. 10-1]. In support of this

  argument, Serpe relies on SEC v. Jarkesy, 603 U.S. 109 (2024), which held the SEC’s imposition of a

  civil monetary penalty against Jarkesy violated his Seventh Amendment right to a jury trial. [See ECF

  No. 10-1 at 18–24]. Serpe likens the HISA’s enforcement scheme to that of the SEC’s in Jarkesy as

  follows: (1) HISA’s enforcement scheme is “legal in nature;” (2) HISA’s monetary fines and penalties

  are “legal remedies;” (3) HISA’s fines and penalties are “designed to punish and deter” rather than to

  “maintain the status quo;”—making them legal not equitable actions; and (4) HISA’s anti-doping

  regulations “bear a close relationship with common-law fraud,” because HISA’s enforcement scheme

  aims to ensure “full disclosure,” “fairness,” and “transparency” in the horserace betting market. [Id.].

  Because HISA’s enforcement scheme empowers the HIWU arbitrator, the FTC-ALJ, and the FTC

  Commission to impose monetary sanctions against Serpe without trial by jury, Serpe argues that his

  Seventh Amendment rights are violated.

          The Authority responds that there is no violation here because HISA’s enforcement scheme

  falls “plainly under the ‘public rights’ exception,” to the Seventh Amendment. [ECF No. 26 at 24

  (citing Jarkesy, 603 U.S. at 127–28, recognizing that “public rights” can be determined by “an agency

  without a jury, consistent with the Seventh Amendment”)]. The Authority’s “public rights” argument

  can be summarized as follows: For the first one-hundred years of American horseracing, horseracing

  was “unregulated.” [ECF No. 26 at 24 (citing Robert L. Heleringer, EQUINE REGULATORY LAW, 43–



  3
          No party has argued that HISA in any way deprives or strips the district court of jurisdiction
  to review the sanctions, acts, or omissions of the Authority, the FTC ALJ, or the Commission.
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  44 (2012))]. By the late-nineteenth century, a private organization known as the Jockey’s Club “wrote

  the rules of racing” and “enforced… and interpreted them as a court of last appeal.” [Id.]. Attempts

  at private enforcement, however, “proved lacking,” so the States created their own horseracing

  commissions to “enforc[e] horseracing regulations (subject to monetary penalties) through

  administrative processes that provided no right to a jury trial.” [Id. at 24–25 (citations omitted)].

  According to the Authority, because the regulation of horseracing does not bear a close relationship

  to common-law fraud but rather falls within the “public rights” arena traditionally regulated by the

  Executive and Legislative branches, Serpe cannot show a likelihood of success on the merits sufficient

  to support a preliminary injunction. [Id].

          The FTC takes a slightly different tack in its “public rights exception” argument, relying in

  part on Atlas Roofing Co., Inc. v. Occupational Safety & Health Review Comm’n, 430 U.S. 442, 444 (1977),

  which held, “consistent with the Seventh Amendment, Congress may create a new cause of action in

  Government for civil penalties enforceable in an administrative agency where there is no jury trial.”

  [See ECF No. 27 at 2 n.1]. The FTC thus contends that the HISA is a “self-consciously novel” scheme

  for the horseracing industry by which Congress created “new statutory ‘public rights’” that may be

  adjudicated by an administrative agency without violating the Seventh Amendment. [Id. at 2].

          Regardless of the merits of Serpe’s constitutional challenge, Serpe’s request today is that the

  Court enjoin upcoming arbitration proceedings to be conducted under the HISA Rules in the absence

  of a jury. For the Court to grant that request, Serpe must show irreparable harm.

                                       III.     LEGAL STANDARD

          “[A] preliminary injunction is an extraordinary and drastic remedy that should not be granted

  unless the movant clearly carries its burden of persuasion” on four distinct “prerequisites.”

  GeorgiaCarry.org, Inc. v. United States Army Corps of Eng’rs, 788 F.3d 1318, 1322 (11th Cir. 2015) (alteration

  in original) (citation and internal quotation marks omitted). To obtain a preliminary injunction, the


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  moving party must establish four prerequisites: (1) a substantial likelihood of success on the merits;

  (2) a showing that the movant will suffer irreparable injury if an injunction does not issue; (3) proof

  that the threatened injury to the movant outweighs any harm that might result to the non-moving

  party; and (4) a showing that the public interest will not be disserved by the granting of a preliminary

  injunction. See id. (citing Burk v. Augusta-Richmond Cnty, 365 F.3d 1247, 1262–63 (11th Cir. 2004)). The

  “[f]ailure to show any of the four factors is fatal” to a motion for a preliminary injunction. Am. Civil

  Liberties Union of Fla., Inc. v. Miami-Dade Sch. Bd., 557 F.3d 1177, 1198 (11th Cir. 2009) (citations

  omitted).

          At all times, the movant bears the burden of persuasion as to each of these requirements. See

  Ne. Fla. Chapter of Ass’n of Gen. Contractors of Am. v. City of Jacksonville, Fla., 896 F.2d 1283, 1285 (11th

  Cir. 1990) (citations omitted). Notably, a movant’s failure to establish any one of the essential elements

  will warrant denial of the request for preliminary injunctive relief and obviate the need to discuss the

  remaining elements. See Pittman v. Cole, 267 F.3d 1269, 1292 (11th Cir. 2001) (citing Church v. City of

  Huntsville, 30 F.3d 1332, 1342 (11th Cir. 1994) and Cuban Am. Bar Ass’n, Inc. v. Christopher, 43 F.3d

  1412, 1424 (11th Cir. 1995)).

          “[P]erhaps the single most important prerequisite for the issuance of a preliminary injunction

  is a demonstration that if it is not granted the applicant is likely to suffer irreparable harm before a

  decision on the merits can be rendered.” Great Am. Ins. Co. v. Fountain Eng’g, Inc., No. 15-CIV-10068-

  JLK, 2015 WL 6395283, at *3 (S.D. Fla. Oct. 22, 2015) (quoting Triangle Publ’ns, Inc. v. Knight-Ridder

  Newspapers, Inc., 445 F. Supp. 875, 877 (S.D. Fla. 1978), aff’d, 626 F.2d 1171 (5th Cir. 1980) (internal

  quotation marks omitted)); see, e.g., Siegel v. LePore, 234 F.3d 1163, 1179 (11th Cir. 2000) (en banc)

  (“proof of irreparable injury is an indispensable prerequisite to a preliminary injunction”). Moreover,

  “the asserted irreparable injury must be neither remote nor speculative, but actual and imminent.”

  Siegel, 234 F.3d at 1176–77 (internal quotation marks and citation omitted). “Past harm . . . cannot


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  serve as a basis for granting a preliminary injunction.” Alabama v. U.S. Army Corps of Eng’rs, 424 F.3d

  1117, 1134 (11th Cir. 2005). An applicant’s failure to show “a substantial likelihood of irreparable

  injury would, standing alone, make preliminary injunctive relief improper.” Siegel, 234 F.3d at 1176.

                                            IV.     DISCUSSION

              A. HIWU’s declaration does not moot Plaintiff’s Seventh Amendment claim.

          After the April 10, 2025, hearing, Defendants supplemented the record with an affidavit in

  which HIWU attests that it will not seek monetary penalties against Serpe in arbitration. [See

  Declaration of Ben Mosier, ECF No. 45 at 10 ¶ 5]. Relying on that affidavit, the Authority contends

  HIWU’s decision not to seek monetary penalties against Serpe “should moot” his Seventh

  Amendment claim. [ECF No. 45 at 6]. Serpe responds that (1) HIWU failed to disclose the authority

  by which it may unilaterally forgo a civil penalty, and (2) Defendants have not shown that the arbitrator

  would adhere to HIWU’s decision not to seek a monetary fine against him. [ECF No. 48 at 5 (citing

  Harrell v. The Fla. Bar, 608 F.3d 1241, 1267 (11th Cir. 2010) and Nat’l Ass’n of Boards of Pharmacy v. Bd.

  of Regents, Univ. of Ga., 633 F.3d 1297, 1310 (11th Cir. 2011) (analyzing mootness of government’s

  challenged conduct))]. Consequently, Serpe maintains that the fact that the arbitrator may still impose

  a monetary penalty against him (notwithstanding the HIWU’s attestation) keeps his Seventh

  Amendment challenge alive. [ECF No. 48 at 5]. After due consideration, the Court agrees with Serpe

  that HIWU’s decision not to seek civil penalties against him in arbitration does not moot his Seventh

  Amendment claim.

          “Generally, the ‘party asserting mootness’ bears the ‘heavy burden of persuading the court that

  the challenged conduct cannot reasonably be expected to start up again.’” Nat’l Ass’n of Boards of

  Pharmacy, 633 F.3d at 1310 (quoting Friends of the Earth, Inc. v. Laidlaw Envt’l Servs. (TOC), Inc., 528 U.S.

  167, 189 (2000)). “[G]overnment actor[s] … [enjoy] a rebuttable presumption that the objectionable

  behavior will not recur.” Troiano v. Supervisor of Elections, Palm Beach Cnty, Fla., 382 F.3d 1276, 1283 (11th


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   Cir. 2004) (emphasis in original); see also Harrell, 608 F.3d at 1266 (“[W]e have applied a ‘rebuttable

   presumption’ in favor of governmental actors[.]”); Sheely v. MRI Radiology Network, P.A., 505 F.3d 1173,

   1183 (11th Cir. 2007) (“[G]overnment actors receive the benefit of a rebuttable presumption that the

   offending behavior will not recur.”)). Hence, “the Supreme Court has held almost uniformly that

   voluntary cessation [by a government defendant] moots the claim.” Beta Upsilon Chi Upsilon Chapter v.

   Machen, 586 F.3d 908, 917 (11th Cir.2009) (collecting cases). The Eleventh Circuit “ha[s] consistently

   held that a challenge to [government conduct] that has been unambiguously terminated will be moot

   in the absence of some reasonable basis to believe that the [government conduct] will [resume] if the

   suit is terminated.” Troiano, 382 F.3d at 1285.

           Three factors are relevant in conducting this mootness inquiry. First, the court considers

   whether the termination of the offending conduct was “unambiguous.” Compare Harrell, 608 F.3d at

   1266–67 (“[I]f a governmental entity decides in a clandestine or irregular manner to cease a challenged

   behavior, it can hardly be said that its ‘termination’ of the behavior was unambiguous.”) with Troiano,

   382 F.3d at 1285–86 (noting that government behavior provided “ample evidence” of changed

   conduct). Second, the court looks to whether the change in government policy or conduct appears

   to be the result of substantial deliberation or is simply an attempt to manipulate jurisdiction. Compare

   Christian Coal. of Ala. v. Cole, 355 F.3d 1288, 1292–93 (11th Cir. 2004) (holding that a challenge to the

   application of state judicial canons was rendered moot where voluntary cessation was based on

   consideration of new Supreme Court precedent and “not made so as to merely avoid a ruling by the

   federal court”) with Harrell, 608 F.3d at 1267 (holding that voluntary cessation did not render a claim

   moot where the government “acted in secrecy, meeting behind closed doors and, notably, failing to

   disclose any basis for its decision,” so that the “the circumstances here raise a substantial possibility

   that the defendant has changed course simply to deprive the court of jurisdiction” (internal quotation

   and citation omitted)). Third, the court asks whether the government has “consistently applied” a


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   new policy or adhered to a new course of conduct. Jews for Jesus, v. Hillsborough Cnty. Aviation Auth.,

   162 F.3d 627, 629 (11th Cir. 1998) (considering the fact that the defendant had “consistently applied”

   a new policy “for three years” after voluntary cessation)).

           Consideration of all three factors here leads to the conclusion that Defendants have not

   established mootness. First, while HIWU’s decision not to seek civil penalties against Serpe appears

   clear, Defendants cite no authority or process by which HIWU came to the decision. See Harrell, 608

   F.3d at 1266–67. At the very least, HIWU has not made it clear how they can stand down ab initio for

   Serpe and (as a private party) take certain sanctions “off the table,” while still complying with their

   statutory and regulatory mandate. That lack of clarity somewhat clouds the first factor. Second,

   HIWU’s decision does not appear to be the result of substantial deliberation; rather, it appears to be

   an attempt to manipulate jurisdiction. Id. [See ECF No. 45 at 2 (discussing how HIWU’s decision not

   to seek a civil penalty tracked the path suggested by the Court at the April 10, 2025, hearing)]. Given

   the fact that HIWU’s declaration was submitted only after this Court pressed the parties at the April

   10 hearing on what action could potentially moot the claim, the circumstances surrounding the recent

   attestation certainly “raise a substantial possibility,” that Defendants “changed course simply to

   deprive the court of jurisdiction.” Harrell, 608 F.3d at 1267. In other words, both the timing of

   HIWU’s decision and its substance (or lack of it) weigh against a finding of mootness. Compare Troiano,

   382 F.3d at 1285 (a defendant’s cessation before receiving notice of a legal challenge weighs in favor

   of mootness) with Burns v. Pa Dep’t of Corr, 544 F.3d 279, 284 (3d Cir. 2008) (cessation that occurs “late

   in the game” will make a court “more skeptical of voluntary changes that have been made… after

   litigation has commenced”) (citation omitted). Courts look for a well-reasoned justification for the

   cessation as evidence that the ceasing party intends to hold steady in its revised course. See Troiano,

   382 F.3d at 1285 (finding challenge moot where governmental defendant ceased challenged behavior

   on a “well reasoned” basis); Christian Coal. of Ala. v. Cole, 355 F.3d 1288, 1292 (11th Cir. 2004) (holding


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   that challenge to application of state judicial canons to certain conduct was moot where governmental

   defendant represented to court that it would not file charges against the plaintiffs based on recent

   Supreme Court precedent). Defendants in this case have supplied no clear reason or process justifying

   their change of course, let alone a well-reasoned one.

            Third, unlike the Authority’s lifting of provisional suspensions (which applied to all those

   previously suspended across the board), there is no evidence that HIWU’s decision has been

   “consistently applied” to anyone, even to Serpe. Instead, the recent decision not to seek monetary

   penalties here appears to be a “one-off” specifically designed to moot Serpe’s Seventh Amendment

   challenge. Accordingly, the Court concludes that Defendants did not meet their burden to show that

   HIWU’s decision not to seek monetary penalties against Serpe in arbitration moots his Seventh

   Amendment claim.

            Therefore, the Court now turns to the question of irreparable harm. Because each Defendant

   stands in a different posture as to Serpe’s requested relief, the Court analyzes them separately,

   beginning with the Authority.

            B.      Plaintiff fails to show irreparable harm as to the Authority.

            In general, “[a]n injury is ‘irreparable’ only if it cannot be undone through monetary remedies.”

   Arthur J. Gallagher Serv. Co. v. Egan, 514 F. App’x 839, 843 (11th Cir. 2013) (per curiam) (quoting Ferrero

   v. Associated Materials Inc., 923 F.2d 1441, 1449 (11th Cir. 1991) (quoting Cate v. Oldham, 707 F.2d 1176,

   1189 (11th Cir. 1983)) (internal quotation marks omitted). Moreover, “[f]or an injury to be irreparable,

   it must be ‘neither remote nor speculative, but actual and imminent.’” TransUnion Risk & Alternative

   Data Sols., Inc. v. Challa, 676 F. App’x 822, 825 (11th Cir. 2017) (quoting City of Jacksonville, 896 F.2d at

   1285).

            Serpe points to several types of harm that he says are “irreparable” such that a preliminary

   injunction is warranted. [ECF No. 10-1 at 25–26]. First, Serpe points to his provisional suspension


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   from horseracing. [See id.]. However, since Serpe filed the instant Motion, “the Authority has lifted

   all provisional suspensions (including Plaintiff’s) outside a narrow category of circumstances

   inapplicable here.” [ECF No. 26 at 13]. Nevertheless, Serpe argues the Authority’s lifting of

   provisional suspensions was without lawful effect because the Authority lacks authority to lift

   suspensions and its pronouncement doing so violated its own rules governing rulemaking. [ECF No.

   29 at 14–18 (citing HISA Rule 3247(a))]. As a result, Serpe says his horseracing status remains

   uncertain and his harm is, therefore, irreparable. [Id.]. The Court disagrees with Serpe on this point.

   Serpe continues to be allowed to train horses to compete in races. Consequently, his reliance on the

   now-lifted provisional suspension does not show “irreparable harm.”

           Apart from the now-lifted provisional suspension, Serpe says his lost business and consumer

   goodwill as well as his subjection to an alleged “unconstitutional proceeding” constitute irreparable

   harm. [ECF No. 29 at 18–24]. Although lost business and customer goodwill may constitute

   irreparable harm in certain circumstances, see E.A. Renfroe & Co. v. Moran, 249 F. App’x 88, 93 (11th

   Cir. 2007) (per curiam), subjection to an unconstitutional process in-and-of-itself does not, see Offolter

   v. Horseracing Integrity & Safety Auth., No. CIV-24-749-D, 2024 WL 3732056, at *3 (W.D. Okla. Aug.

   8, 2024) (rejecting plaintiffs’ argument that “being subjected to an unconstitutional exercise of the

   Authority’s enforcement power [] constitutes irreparable harm”) (citing Leachco, Inc. v. Consumer Prod.

   Safety Comm’n, 103 F.4th 748 (10th Cir. 2024)). Indeed, in the Eleventh Circuit, “[t]he only area of

   constitutional jurisprudence where [the Court of Appeals] ha[s] said that an on-going violation

   constitutes irreparable injury is in the area of first amendment and right of privacy jurisprudence.”

   City of Jacksonville, 896 F.2d at 1285. 4



   4
           Serpe relies on dicta in Axon Enterprise, Inc. v. FTC, 598 U.S. 175 (2023), where the Supreme
   Court found a “here-and-now” injury sufficient to confer jurisdiction on the district court to hear a
   constitutional challenge to an alleged unconstitutional statutory review scheme. However, as the
   Tenth Circuit Court of Appeals recognized in the context of a request for a preliminary injunction:
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           Serpe’s claimed harms are not irreparable because he may pursue a remedy against the

   Authority for money damages in the event of a constitutional violation that causes harm. See id. (“The

   possibility that adequate compensatory or other corrective relief will be available at a later date, in the

   ordinary course of litigation, weighs heavily against a claim of irreparable harm.”) (citations omitted).

   For purposes of a preliminary injunction, an injury is “irreparable” only if it cannot be undone through

   monetary remedies. “The key word in this consideration is irreparable. Mere injuries, however

   substantial, in terms of money, time and energy necessarily expended in the absence of a stay, are not

   enough. The possibility that adequate compensatory or other corrective relief will be available at a

   later date, in the ordinary course of litigation, weighs heavily against a claim of irreparable harm.”

   Sampson v. Murray, 415 U.S. 61, 90 (1974) (emphasis added) (citation and internal quotation marks




            Axon did not address the issue of irreparable harm, or any other issue regarding
            entitlement to injunctive relief. The Court in Axon only addressed whether the
            petitioners, who were respondents in administrative enforcement actions before the
            SEC and FTC, could initially bring collateral challenges in federal district court to the
            constitutionality of those agencies’ structure. Axon, 598 U.S. at 180, 143 S.Ct. 890. To
            answer that strictly jurisdictional question, the Court applied the jurisdictional factors
            from Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 114 S.Ct. 771, 127 L.Ed.2d 29 (1994)
            to determine whether the constitutional claims brought by the petitioners were of the
            type that Congress intended to allocate exclusively to the agency, or whether those
            claims could be initiated in federal district court: . . . The Court concluded that the
            answer to all three questions was “yes,” and therefore the collateral constitutional
            claims could be heard by federal district courts. Id. at 195–96, 143 S.Ct. 890. The Court
            did not, however, address issues of relief.
   Leachco, 103 F.4th at 758.

           Here, Defendants do not challenge this Court’s jurisdiction to hear Serpe’s constitutional
   challenge to HISA. Instead, Defendants argue Serpe failed to meet his burden to show irreparable
   harm at this stage of the litigation. For the reasons given above, the Court agrees with Defendants
   that Serpe has not met his burden with respect to the Authority. Accordingly, the Court must deny
   the Motion as to the Authority. See Snook v. Trust Co. of Georgia Bank of Savannah, N.A., 909 F.2d 480,
   486 (11th Cir. 1990) (affirming denial of preliminary injunction even though plaintiff established
   likelihood of prevailing because plaintiff failed to meet burden of proving irreparable injury); City of
   Jacksonville, 896 F.2d at 1286 (reversing preliminary injunction based solely on plaintiff’s failure to show
   irreparable injury); Flowers Indus. v. FTC, 849 F.2d 551, 553 (11th Cir. 1988) (same).


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   omitted). At the April 10 hearing, counsel for the Authority conceded the Authority is not immune

   from suit. [See Hearing Tr. at 30:24–25; 31:17–19]. Consequently, monetary damages flowing from

   Serpe’s alleged injuries are recoverable from the Authority.

           Moreover, the United States Supreme Court recognizes three situations where private entities

   can be liable under 42 U.S.C. § 1983 for constitutional deprivations: (1) the State has coerced or at

   least significantly encouraged the action alleged to violate the Constitution (“State compulsion test”);

   (2) the private parties performed a public function that was traditionally the exclusive prerogative of

   the State (“public function test”); or (3) the State had so far insinuated itself into a position of

   interdependence with the private parties that it was a joint participant in the enterprise (“nexus/joint

   action test”). Charles v. Johnson, 18 F.4th 686, 694 (11th Cir. 2021) (citing Rayburn ex rel. Rayburn v.

   Hogue, 241 F.3d 1341, 1347 (11th Cir. 2001) (quoting Nat’l Broad. Co. v. Commc’ns Workers of Am., AFL-

   CIO, 860 F.2d 1022, 1026 (11th Cir. 1988)) (cleaned up) and Lugar v. Edmondson Oil Co., 457 U.S. 922,

   939 (1982)).

           Arguably, the public function test and/or the nexus/joint action test are mechanisms by which

   Serpe could recover monetary damages from the Authority for any Seventh Amendment violation.

   Indeed, the Authority’s own “public rights” arguments describe the traditional state actions assumed

   by the Authority, as well as the joint nature of the efforts by the FTC and the Authority in enforcing

   HISA. [See ECF No. 26 at 10–13, 24–26]. Because Serpe has a legal remedy against the Authority for

   his alleged Seventh Amendment violation, he has not shown irreparable harm as against the Authority.

   See Lugar v. Edmondson Oil Co., 457 U.S. 922, 941 (1982) (quoting United States v. Price, 383 U.S. 787, 794

   (1982), quoting Adickes v. S. H. Kress & Co., 398 U.S. 144, 152 (1970), “Private persons, jointly engaged

   with state officials in the prohibited action, are acting ‘under color’ of law for purposes of the statute.

   To act ‘under color’ of law does not require that the accused be an officer of the State. It is enough




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   that he is a willful participant in joint activity with the State or its agents.”) (internal quotation marks

   omitted)).

           To wrap up, absent a showing of irreparable harm as to the Authority, the Court finds that

   the other three factors need not be considered. Accordingly, Plaintiff’s Motion as to the Authority is

   DENIED WITH PREJUDICE.

           B.      Plaintiff’s request for a preliminary injunction is not ripe as to the FTC.

           The “irreparable harm” analysis changes a bit with respect to the FTC. The FTC confirmed

   in its supplemental papers that Congress has not waived its sovereign immunity for constitutional

   injuries suffered by persons subject to the FTC’s enforcement of HISA. [ECF No. 46 at 3–7]. That

   means Serpe cannot ever recover monetary damages from the FTC for any alleged deprivation of his

   Seventh Amendment rights.

           “In the context of preliminary injunctions, numerous courts have held that the inability to

   recover monetary damages because of sovereign immunity renders the harm suffered irreparable.”

   Odebrecht Const., Inc. v. Sec’y, Fla. Dep’t of Transp., 715 F.3d 1268, 1289 (11th Cir. 2013) (citing Chamber

   of Commerce v. Edmondson, 594 F.3d 742, 770–71 (10th Cir. 2010) (“Imposition of monetary damages

   that cannot later be recovered for reasons such as sovereign immunity constitutes irreparable injury.”);

   Iowa Utils. Bd. v. FCC, 109 F.3d 418, 426 (8th Cir. 1996) (“The threat of unrecoverable economic loss

   ... qualif[ies] as irreparable harm.”); ABC Charters, Inc. v. Bronson, 591 F. Supp. 2d 1272, 1310 (S.D. Fla.

   2008) (“In the case at bar, Plaintiffs face serious economic harm as a result of the Travel Act

   Amendments and cannot sue the state of Florida for damages. Therefore, this harm is irreparable as

   a matter of law.”)).

           Because Serpe can never recover money damages from the FTC for any alleged Seventh

   Amendment violation, ultimately he may be able to show irreparable harm as to the FTC.

   Nevertheless, at this stage Serpe’s claim against the FTC is not yet ripe. Under HISA’s three-tiered


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   review scheme explained earlier, the FTC will not act at all until HISA/HIWU completes an arbitration

   and decides whether and what sanctions are to be imposed against Serpe. See 15 U.S.C. § 3058(b)(1).

   That arbitration has not happened yet, and it cannot be known at this point whether any sanctions

   will be imposed (or whether any sanctions imposed run afoul of the Seventh Amendment). Serpe’s

   claim against the FTC, therefore, “rests upon contingent future events that may not occur as

   anticipated, or indeed may not occur at all.” Harris v. Mexican Specialty Foods, Inc., 564 F.3d 1301, 1308

   (11th Cir. 2009) (quoting Texas v. United States, 523 U.S. 296, 300 (1998) (internal quotation marks

   omitted)). Reviewing Serpe’s claim against the FTC now would, therefore, require the Court to

   “engag[e] in speculation” about whether the charge will ever end up in an FTC proceeding, what

   remedy will be sought there if it does, and the extent to which any disputed issues of fact will exist.

   Digital Props., Inc. v. City of Plantation, 121 F.3d 586, 589 (11th Cir. 1997). That “inquiry is better

   postponed until the issues are presented in more concrete circumstances of a challenge to the Act as

   applied.” Cheffer v. Reno, 55 F.3d 1517, 1524 (11th Cir. 1995). At this stage of the proceedings, Serpe’s

   Seventh Amendment claim is not an appropriate basis for a preliminary injunction against the FTC.

   See Flowers, 849 F.2d at 553–54 (vacating issuance of preliminary injunction in part because “the parties

   ha[d] yet to complete the administrative process,” making “th[e] case not ripe for judicial review”); see

   also Doe #1–#14 v. Austin, 572 F. Supp. 3d 1224, 1241 n.18 (N.D. Fla. 2021) (“[I]f the plaintiffs could

   not establish a likelihood that their claims are ripe, they could not show a likelihood of success on the

   merits.”) (citation omitted).

           At bottom, the Court cannot know today what specific facts will be before the FTC, or whether

   a civil monetary fine or any other sanctions will be imposed against Serpe at all. Serpe’s claim against

   the FTC is, therefore, premature. To obtain a preliminary injunction, the injury complained of must

   be “neither remote nor speculative, but actual and imminent.” Tucker Anthony Realty Corp. v. Schlesinger,

   888 F.2d 969, 975 (2d Cir. 1989) (citations and internal quotation marks omitted). Serpe’s Seventh


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   Amendment claim against the FTC is simply too speculative right now for the Court to grant the

   extraordinary relief of a preliminary injunction against the FTC at this time. Accordingly, Plaintiff’s

   Motion as to the FTC is DENIED WITHOUT PREJUDICE.

                                         V.      CONCLUSION

          In view of the foregoing, it is hereby ORDERED AND ADJUDGED as follows:

          1. Plaintiff’s Motion for Preliminary Injunction [ECF No. 10] is DENIED WITH

              PREJUDICE as to the Authority.

          2. Plaintiff’s Motion for Preliminary Injunction [ECF No. 10] is DENIED WITHOUT

              PREJUDICE as to the FTC.

          3. Plaintiff may renew the application after Arbitration, if appropriate.

          4. Plaintiff may file a Motion for Summary Judgment on his Seventh Amendment challenge

              at any time before, during, or after the Arbitration, with leave to supplement the record

              after the arbitration proceedings have concluded.

          DONE AND ORDERED in the Southern District of Florida on May 28, 2025.




   cc:    counsel of record




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